
Nicholson, C. J.,
delivered the opinion of the Court.
This is an action of .forcible entry and detainer, tried first before three Justices of the Peace in Union county, and afterwards, upon appeal, in the Circuit Court of said *432county. The defendants in error were successful in the suit, both before the Justices and in the Circuit Court, and plaintiff in error brings the case here by appeal in error. The defendants in error were Common School Commissioners for the Tenth Civil District of Union County. They sued plaintiff in error for unlawfully detaining from them a school-house in said district known as Miller’s School-house, and the jury rendered a verdict in their • favor. After moving for a new trial, which was overruled, the defendant moved in arrest of judgment, first, because the description of the school-house was too vague and uncertain to found a judgment upon; and second, because no written complaint was filed when the warrant issued. The Circuit Judge disallowed the reasons in arrest of judgment, and we think, correctly. It is difficult to understand how there could be any uncertainty as to the property in suit. The civil district is specified; it is described as a school-house in that district, and one known as Miller’s School-house. The second reason in arrest of judgment, is equally untenable. No written complaint is required by the Code to be filed.
The judgment below' was correct, and we affirm it.
